      Case 2:03-cr-00042-MCE Document 395 Filed 06/09/05 Page 1 of 2



 1   McGREGOR W. SCOTT
     United States Attorney
 2   R. STEVEN LAPHAM
     KENNETH J. MELIKIAN
 3   PHILIP A. FERRARI
     Assistant U.S. Attorneys
 4   501 I St., Room 10-100
     Sacramento, California 95814
 5   Telephone: (916) 554-2700

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10                     IN THE UNITED STATES DISTRICT COURT

11                    FOR THE EASTERN DISTRICT OF CALIFORNIA

12

13   UNITED STATES OF AMERICA,     )
                                   )      CR NO. S-03-042 FCD DAD
14                  Plaintiff,     )
                                   )
15             v.                  )      STIPULATION AND ORDER
                                   )
16   SHANGO JAJA GREER, et al.,    )
                                   )
17                  Defendant.     )
     ______________________________)
18

19           It is hereby stipulated by and between the parties that the

20   hearing on the motions for a Bill of Particulars filed by

21   defendants Greer and Gonzalez, currently set for June 20, 2005, be

22   reset for July 25, 2005.

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       Case 2:03-cr-00042-MCE Document 395 Filed 06/09/05 Page 2 of 2



 1          The reason for the above-referenced rescheduling is that the

 2   parties are currently engaged in negotiations and wish to give

 3   those efforts their complete attention.

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 5   DATED: June 8, 2005                        /s/ Philip Ferrari for
                                               PETE KMETO, ESQ.
 6                                             Attny. for Shango Greer

 7
     DATED: June 8, 2005                        /s/ Philip Ferrari for
 8                                             JOHN PHILLIPSBORN, ESQ.
                                               Attny. for Oscar Gonzales
 9
     DATED: June 8, 2005                        /s/ Philip Ferrari for
10                                             FRED DAWSON, ESQ.
                                               Attny. for Elliott Cole
11
     DATED: June 8, 2005                        /s/ Philip Ferrari for
12                                             JESSE RIVERA, ESQ.
                                               Attny. for Charles White
13
     DATED: June 8, 2005                        /s/ Philip Ferrari for
14                                             BOB PETERS, ESQ.
                                               Attny. for Jason Walker
15

16   DATED: June 8, 2005                        /s/ Philip Ferrari for
                                               KATHERINE KOHLMAN-DRULINER, ESQ.
17                                             Attny. for Louis Walker

18   DATED: June 8, 2005                       McGREGOR W. SCOTT
                                               United States Attorney
19

20                                    By:      /s/ Philip Ferrari
                                               PHILIP A. FERRARI
21                                             Assistant U.S. Attorney

22          IT IS SO ORDERED.

23   DATED: June 8, 2005.

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27   Ddad1/orders.criminal/greer0042.stipord

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